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                                1    JEFFREY K. GARFINKLE (SBN: 153496)
                                     MIRCO J. HAAG (SBN: 316111)
                                2    BUCHALTER
                                     A Professional Corporation
                                3    18400 Von Karman Avenue, Suite 800
                                     Irvine, CA 92612-0514
                                4    Telephone: 949.760.1121
                                     Fax: 949.720.0182
                                5    Email: jgarfinkle@buchalter.com
                                6    Attorneys for Thomas H. Casey, Litigation Trustee of Litigation Trust for California Hispanic
                                     Commission on Alcohol and Drug Abuse, Reorganized Debtor
                                7

                                8

                                9

                           10                               UNITED STATES BANKRUPTCY COURT

                           11                                CENTRAL DISTRICT OF CALIFORNIA

                           12                                          SANTA ANA DIVISION

                           13        In re                                               Case No. 8:16-bk-10424-SC
                           14        CALIFORNIA HISPANIC COMMISSION                      Chapter 11
                                     ON ALCOHOL AND DRUG ABUSE,
                           15                                                            DECLARATION OF THOMAS. H.
                                                       Debtor.                           CASEY IN SUPPORT OF MOTION OF
                           16                                                            THE LITIGATION TRUSTEE TO (1)
                                                                                         APPROVE FIRST AND FINAL
                           17                                                            DISTRIBUTION TO HOLDERS OF
                                                                                         ALLOWED UNSECURED CLAIMS
                           18                                                            AND (2) REQUEST FOR
                                                                                         COMPENSATION FOR LITIGATION
                           19                                                            TRUSTEE THOMAS H. CASEY FOR
                                                                                         THE TIME PERIOD OF APRIL 1, 2019
                           20                                                            THROUGH OCTOBER 31, 2019,
                                                                                         COUNSEL FOR LITIGATION
                           21                                                            TRUSTEE BUCHALTER FOR THE
                                                                                         TIME PERIOD OF APRIL 1, 2019
                           22                                                            THROUGH OCTOBER 31, 2019, AND
                                                                                         ESTIMATED ACCOUNTANT FEES
                           23
                                                                                         [No Hearing Required per Local
                           24                                                            Bankruptcy Rule 9013-1(o)(1)]
                           25                                                            Judge:       Hon. Scott C. Clarkson
                           26

                           27

                           28
      BUCHALTER                     BN 38267282v1                                  1
A PROFES SION AL CORPORAT ION
           IRVINE                        DECLARATION IN SUPPORT OF MOTION TO (1) APPROVE DISTRIBUTION TO ALLOWED
                                          UNSECURED CLAIMS AND (2) REQUEST FEES AND COSTS: CASE NO. 8:16-BK-10424-SC
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                                1                                DECLARATION OF THOMAS H. CASEY
                                2           I, Thomas H. Casey, declare as follows:

                                3           1.       I am an attorney at law, duly licensed and in particular entitled to practice before all

                                4   courts in the State of California and before this Court. I am principal of the Law Offices of Thomas

                                5   H. Casey, located in Orange County, California. If sworn as a witness, I could and would

                                6   competently testify to the truth of the following facts.

                                7           2.       I am the Litigation Trustee 1 of the Litigation Trust for the Reorganized Debtor

                                8   California Hispanic Commission on Alcohol and Drug Abuse established by the terms of the Plan

                                9   I make this declaration in support of the Motion filed in the Debtor’s case that seeks approval for

                           10       me to make a first and final distribution to holders of allowed unsecured claims against the Debtor.

                           11               3.       The Plan established the Litigation Trust for the purpose of collecting and

                           12       liquidating assets of the Debtor for the benefit of the Debtor’s creditors. In my role as Litigation

                           13       Trustee I have diligently performed my duties to achieve the Litigation Trust’s objectives in

                           14       accordance with the provisions of the Litigation Trust Agreement. Those duties have included the

                           15       filing of periodic status reports with this Court and the attendance at hearings on those status reports

                           16       to address any inquiries by this Court or creditors concerning the progress of the liquidation.

                           17               4.       The Litigation Trust was “established for the purpose of collecting, holding,

                           18       administering, distributing, and liquidating” certain of the Debtor’s assets and “to make

                           19       distributions” to holders of general unsecured claims entitled to receive distributions. [Docket No.

                           20       331 at 4.] Among the duties of the Litigation Trustee, and except for the claim filed by Genesis

                           21       Title Holding Corporation, is to determine which scheduled and filed claims are to be objected to,

                           22       whether objections to scheduled claims and proofs of claims were to be pursued, if such claims

                           23       were to be paid, reduced, or otherwise contested as contingent, unliquidated or disputed, or the

                           24       subject of pending or forthcoming litigation. In order to be able to achieve that objective, I analyzed

                           25       each of the claims (both scheduled and filed) and participated in litigation achieve reductions or

                           26
                                    1
                                      Terms have the definitions given in the concurrently filed Motion to (1) Approve First and Final Distribution to
                           27       Holders of Allowed Unsecured Claims and (2) Request for Compensation for Litigation Trustee Thomas H. Casey for
                                    the Time Period Of April 1, 2019 Through October 31, 2019, Counsel for Litigation Trustee Buchalter for the Time
                           28       Period Of April 1, 2019 Through October 31, 2019, and Estimated Accountant Fees.
      BUCHALTER                     BN 38267282v1                                           2
A PROFES SION AL CORPORAT ION
           IRVINE                        DECLARATION IN SUPPORT OF MOTION TO (1) APPROVE DISTRIBUTION TO ALLOWED
                                          UNSECURED CLAIMS AND (2) REQUEST FEES AND COSTS: CASE NO. 8:16-BK-10424-SC
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                                1   denials of a number of those claims. In total, the Litigation Trustee filed over 60 motions objecting
                                2   to claims and requesting their disallowance or reduction (the “Claim Motions”). All of the Claim
                                3   Motions have been resolved and the Court has entered orders disallowing or modifying challenged
                                4   claims.
                                5             5.    The resulting list of allowed unsecured claims is demonstrated by the schedule
                                6   entitled “Claims Proposed Distribution” that is attached to this Declaration as Exhibit 1, which I
                                7   believe accurately reflects the claims upon which the Final Distribution must be based. The Claims
                                8   Proposed Distribution list is organized alphabetically in order to permit claimants to readily
                                9   determine the claim amount upon which each distribution is to be based. Among my specific duties
                           10       as delineated therein, is to determine which scheduled and filed claims were to be objected to,
                           11       whether objections to scheduled claims and proofs of claims were to be pursued, if such claims
                           12       were paid, to be reduced, or otherwise contested as contingent, unliquidated or disputed, or were
                           13       the subject of pending or forthcoming litigation.
                           14                 6.    I have also attached a separate list of disallowed claims entitled “Creditor Non-
                           15       Payment Schedule” that demonstrates each of the claims that were disallowed. No distribution will
                           16       be made on account of the disallowed claims included on this list. I have organized the Creditor
                           17       Non-Payment Schedule alphabetically to permit any noticed party to readily ascertain that they are
                           18       not to receive a distribution based upon these disallowed claims. The Creditor Non-Payment
                           19       Schedule is attached to this Declaration as Exhibit 2.
                           20                 7.    The Claims Proposed Distribution List demonstrates that, after reserving for the
                           21       payment of estimated fees and costs that remain to be paid by the Litigation Trust to obtain the final
                           22       decree required by the Plan, there remains approximately $132,150.41 available for distribution to
                           23       general unsecured creditors. The amount of the proposed final distribution to each unsecured
                           24       creditor demonstrated on the Claims Proposed Distribution List was determined on a pro rata basis
                           25       by dividing the $132,150.41 distribution amount by the aggregate amount of unsecured claims
                           26       ($5,361,467.96) and multiplying that resulting percentage distribution (2.46%) by the amount of
                           27       each unsecured creditor’s allowed unsecured claim.
                           28
      BUCHALTER                     BN 38267282v1                                       3
A PROFES SION AL CORPORAT ION
           IRVINE                        DECLARATION IN SUPPORT OF MOTION TO (1) APPROVE DISTRIBUTION TO ALLOWED
                                          UNSECURED CLAIMS AND (2) REQUEST FEES AND COSTS: CASE NO. 8:16-BK-10424-SC
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                    EXHIBIT 1




                    EXHIBIT 1
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        In re CALIFORNIA HISPANIC COMMISSION ON ALCOHOL AND DRUG ABUSE

                                  Case No. 8:16-bk-10424-SC

                                 Claims Proposed Distribution


  Litigation Trust Assets                                             $175,680.54
  Accrued Litigation Trustee Fees and Costs                                      $4,127.63
  Reserve for Estimated Litigation Trustee Fees and Costs                        $1,500.00
  Accrued Trustee Counsel Fees and Costs                                        $20,402.50
  Reserve for Estimated Trustee Counsel Fees and Costs                          $15,000.00
  Reserve for Accountant Fees and Costs                                          $2,500.00
  Assets for Distribution to Unsecured Creditors                      $132,150.41
  Total Unsecured Claims                                              $5,361,467.96
  Expected Percentage Distribution per Claim                          2.46%




                                         Claim Amount        Expected
                 Claimant Name                                             Basis for Claim
                                            Allowed         Distribution

  2010 Office Furniture                 $4,446.62           $148.32        Scheduled
  2309 Daly Street, Inc.                $10,182.68          $339.65        Filed Claim #45
  Ace Commercial Laundry                $628.00             $20.95         Scheduled
  American Independent Security         $80.00              $2.67          Scheduled
  Anaheim Public Utilities              $546.57             $18.23         Filed Claim #16
  ARAMARK UNIFORM                       $3,342.88           $111.50        Scheduled
  SERVICES
  ARKADIN, INC.                         $123.32             $4.11          Scheduled
  AT&T Corp                             $1,130.05           $37.69         Filed Claim #41
  AT&T Long Distance LLC                $10.87              $0.36          Filed Claim #42
  AT&T/Pacific Bell Telephone           $3,348.23           $111.68        Filed Claim #40
  Company
  Athens Services                       $166.78             $5.56          Scheduled
  Bay Alarm                             $11.17              $0.37          Scheduled
  BODE & BODE LOCK & SAFE               $853.00             $28.45         Scheduled
  California American Water Co.         $17.55              $0.59          Scheduled
  California Water Service              $325.97             $10.87         Scheduled
  Capital Premium Finance               $1,072.45           $35.77         Scheduled
  CAREPROVIDER.ORG                      $480.00             $16.01         Scheduled
  City of El Monte                      $80.66              $2.69          Scheduled
  City of Sacramento                    $32.00              $1.07          Filed Claim #21
  Revenue Division



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                                  Case No. 8:16-bk-10424-SC

                                 Claims Proposed Distribution


                                         Claim Amount       Expected
                 Claimant Name                                            Basis for Claim
                                            Allowed        Distribution

  City of Sacramento                   $434.80            $14.50          Filed Claim #22
  Revenue Division
  City of Sacramento                   $392.95            $13.11          Filed Claim #23
  Revenue Division
  City of Vacaville Police Dept        $50.00             $1.67           Scheduled
  Clinivate                            $4,583.33          $152.88         Scheduled
  Commercial Waste Services            $229.91            $7.67           Scheduled
  County of Los Angeles                $50.00             $1.67           Scheduled
  County of Orange Health Care         $78.00             $2.60           Scheduled
  Coveral North America                $3,567.83          $119.01         Scheduled
  D3 Cosultants Inc.                   $1,020.00          $34.02          Scheduled
  Department of Justice                $427.00            $14.24          Scheduled
  Department of Water and Power,       $4,126.78          $137.65         Filed Claim #8
  City of Los Angeles
  Direct TV                            $103.00            $3.44           Scheduled
  Dish                                 $52.81             $1.76           Scheduled
  DSA Technologies                     $4,295.92          $143.29         Scheduled
  Episcopal Housing                    $72.00             $2.40           Scheduled
  FedEx Tech Connect as Assignee of    $1,217.42          $40.61          Filed Claim #14
  FedEx
  Express/Ground/Freight/Office
  Firetech Services Co.                $2,951.44          $98.45          Filed Claim #31
  Genesis Title Holding Company        $747,045.43        $24,918.22      Scheduled
  Graves Services, Inc                 $283.86            $9.47           Scheduled
  Hankin Specialty Elevator            $150.00            $5.00           Scheduled
  Integrated Office Technology         $62.96             $2.10           Scheduled
  JD Telecom                           $7,929.92          $264.51         Scheduled
  Jose Robles                          $240.00            $8.01           Scheduled
  LA Dept of Water and Power           $3,677.59          $122.67         Filed Claim #8
                                                                          and Stipulation
  Legal Shield                         $15.95             $0.53           Scheduled
  Lewitt, Hackman, Shapiro, Marshall   $34,324.59         $1,144.92       Filed Claim #35
  & Harlan
  Lilia (Lily) Ojanco-Bracco           $105,167.00        $3,507.92       Filed Claim #39
  Long Term Care Properties, Inc.      $3,811,013.46      $127,118.99     Filed Claim #37
                                                                          and Stipulation



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                                  Case No. 8:16-bk-10424-SC

                                 Claims Proposed Distribution


                                         Claim Amount       Expected
                 Claimant Name                                            Basis for Claim
                                            Allowed        Distribution

  Los Angeles County Tax Collector      $5,062.57         $168.87         Scheduled
  NASA Services                         $272.86           $9.10           Scheduled
  Neshek's Auto Repair                  $1,627.00         $54.27          Filed Claim #50
  Non Profit Technologies               $112.50           $3.75           Filed Claim #30
  Non Profit United Workers             $60,846.00        $2,029.56       Scheduled
  Compensation
  OC Fire Protection                    $226.26           $7.55           Scheduled
  Office Pride Commercial Cleaning      $1,059.62         $35.34          Scheduled
  Services
  On Trac                               $460.18           $15.35          Scheduled
  Ontario Refrigeration Service, Inc.   $448.00           $14.94          Filed Claim #27
  Orange County (Including OC           $353,946.49       $11,806.13      Filed Claim #43
  Health Care Agency)                                                     and Stipulation
  Pacific Coast Holdings Investment     $10,640.00        $354.90         Filed Claim #19
  LLC
  Pacific Rim Printer and Mailer        $10,378.45        $346.18         Scheduled
  Performance Systems                   $250.00           $8.34           Scheduled
  Pico Water District                   $120.80           $4.03           Scheduled
  Pinnacle                              $61.64            $2.06           Scheduled
  Purchase Power                        $65.38            $2.18           Scheduled
  R&S Architectual Products Inc. of     $424.00           $14.14          Scheduled
  Sacramento
  Ram Security                          $165.00           $5.50           Scheduled
  Raven Termite                         $100.00           $3.34           Scheduled
  Republic Services #922                $352.97           $11.77          Scheduled
  Rich Ministries                       $300.00           $10.01          Scheduled
  Rocker Bros                           $1,716.89         $57.27          Scheduled
  San Gabriel Valley Water Company      $119.00           $3.97           Filed Claim #29
  Siemens Healthcare Diagnostics        $4,939.98         $164.78         Scheduled
  Sierra                                $1,289.77         $43.02          Scheduled
  Southern California Edison            $6,892.41         $229.90         Filed Claim #3
  Company
  Southern California Gas Company       $5,200.81         $173.48         Filed Claim #24
                                                                          and Stipulation
  SSD System                            $689.64           $23.00          Scheduled
  ST Group                              $4,950.00         $165.11         Scheduled



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                                  Case No. 8:16-bk-10424-SC

                                 Claims Proposed Distribution


                                         Claim Amount       Expected
                 Claimant Name                                            Basis for Claim
                                            Allowed        Distribution

  Stanley Pest Control-S El Monte      $597.00            $19.91          Scheduled
  Staples, Inc.                        $4,491.63          $149.82         Scheduled
  The Bugman                           $99.00             $3.30           Scheduled
  The Lawrence O. Mackel 1994 Trust    $25,292.94         $843.66         Filed Claim #44
  Dated 9-22-1994
  Time Warner Cable                    $559.21            $18.65          Scheduled
  TNT Repair                           $486.00            $16.21          Scheduled
  U.S. FIRE PROTECTION CO.             $804.45            $26.83          Scheduled
  U.S. HEALTHWORKS                     $4,422.00          $147.50         Scheduled
  Unline Shipping Supplies             $172.00            $5.74           Filed Claim #20
  VALLEY VISTA SERVICES                $177.46            $5.92           Scheduled
  VAULTLOGIX                           $1,416.74          $47.26          Scheduled
  VERIZON CALIFORNIA                   $459.69            $15.33          Scheduled
  Waste Management - RMC               $290.30            $9.68           Filed Claim #34
  Wells Fargo Bank National            $89,036.00         $2,969.86       Filed Claim #11
  Association
  Zoom Imaging Solutions, Inc.         $2.57              $0.09           Filed Claim #28




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                    EXHIBIT 2




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                                 Claims Proposed Distribution

            Basis for                                             Disallowed
                                       Claimant Name
             Claim                                                  Claim
           Scheduled     American Express                        $59,853.23
           15           Anaheim Public Utilities                 $287.47
           16           Angelina Sharman                         $742.28
           Scheduled    California Employers Association         $17.55
           Scheduled    California Physicians' Service           $563.57
                        dba Blue Shield of California
           10           California Physicians' Service           $0.00
                        dba Blue Shield of California
           17           California Physicians' Service           $48,611.03
                        dba Blue Shield of California
           6            California State Disbursement Unit       $92,354.19
           Scheduled    Carlos Alcala                            $480.00
           55           Christina Gonzalez                       $49,775.00
           52           City of Anaheim                          $44,755.00
           Scheduled    City of Los Angeles, Office of Finance   $80.66
           36           City of Los Angeles-LAHD                 $1,408.50
           Scheduled    City of Montebello                       $135.66
           23           City of Vacaville                        $392.95
           Scheduled    County of Sacramento                     $78.00
           Scheduled    Delia Duran                              $1,020.00
           Scheduled    Department of Motor Vehicles             $427.00
           Scheduled    Department of Social Services            $1,501.00
           8            Diane Soto                               $4,126.78
           Scheduled    Draeger Safety Diagnosis                 $52.81
           31           Ford Motor Credit                        $2,951.44
           62           General Electric Capital Corporation     $212,824.02
           Scheduled    Home Depot Credit Services               $150.00
           Scheduled    Internal Revenue Service                 $62.96
           1            James Hernandez                          $12,756.00
           38           James Hernandez                          $113,341.00
           59           James Hernandez                          $1,000,000.00
           61           Jimmy Milligan                           $192,064.00
           Scheduled    John Becerra                             $7,929.92
           47-2         Jorge Torres                             $50,081.63
           Scheduled    Josephine Alvarez                        $240.00
           4-2          LA County Sheriff Dept.                  $100,000.00



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                                Claims Proposed Distribution

            Basis for                                                   Disallowed
                                      Claimant Name
             Claim                                                        Claim
           8            Laurie Morales                                 $3,904.50
           7            Law Offices of Emilio J. Huerta                $9,832.50
           Scheduled    Leilane Quiles                                 $15.95
           35           Lewitt, Hackman, Shapiro, Marshall & Harlan    $57,919.63
           39           Lilia (Lily) Ojanco-Bracco                     $115,167.00
           58           Lisa Gamboa as class representative            $112,000.00
           Scheduled    Michelle Hoaglin                               $5,062.57
           56           Mila Hodzic                                    $28,775.00
           43           Orange County Tax Collector                    $584,749.00
           2-2          Orange County Tax Collector                    $78.00
           5            Orion Healthcare Technology                    $78.00
           Scheduled    Pablo Alcala                                   $4,320.00
           Scheduled    Sacramento County Tax                          $1,716.89
           Scheduled    Sacramento County Utilities                    $871.65
           Scheduled    Sacramento Municipal Utility District (SMUD)   $180.57
           Scheduled    State Board of Equalization                    $4,491.63
           25           Straight Up Reality Improvements               $1,500.00
           Scheduled    Terry Suo                                      $1,500.00
           Scheduled    The Gas Company                                $99.00
           Scheduled    Time Warner Cable                              $607.14
           Scheduled    TNT Repair                                     $559.21
           20           US BANK                                        $172.80
           34           Wells Fargo Bank National Association          $290.30
           12           Wells Fargo Bank National Association          $217,520.00
           13           Wells Fargo Bank National Association          $744,262.00




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                    EXHIBIT 3




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Law Office of Thomas H. Casey, Inc.
22342 Avenida Empresa, Suite 245
Rancho Santa Margarita, CA 92688
(949) 766- 8787


Invoice submitted to:
Thomas H. Casey
22342 Avenida Empresa
Suite 245
Rancho Santa Margarita, CA 92688



November 7, 2019

In Reference To: Case No. 8:16-bk-10424-SC
                 California Hispanic Commission on Drug and Alcohol Abuse
Invoice #11376


            Professional Services

                                                                                               Hrs/Rate      Amount

            Asset Dispos

  4/23/2019 THC Asset Dispos                                                                      0.50       280.00
                Review email from Jeff Garfinkle regarding Buchalter's fees incurred            560.00/hr
                preparing claim objections and review attached invoices.

            THC Asset Dispos                                                                      0.30       168.00
                Review previously filed Notice of Request For Compensation and                  560.00/hr
                prepare email to Jeff Garfinkle regarding follow same procedure as
                before and attach previously filed Notice of Request For Fees.

  5/15/2019 MS     Asset Dispos                                                                   0.10           18.50
                   Draft and preparation of responsive email to Alan Johnson regarding          185.00/hr
                   tentative rulings for today's hearings and send to him for review.

  5/20/2019 THC Asset Dispos                                                                      0.10           56.00
                Review Notice of Compensation and no opposition and revise letter to            560.00/hr
                Buchalter regarding payment of fees.

            MS     Asset Dispos                                                                   0.90       166.50
                   Draft and preparation of general ledger for the CHCADA bank account.         185.00/hr

  7/11/2019 THC Asset Dispos                                                                      0.10           56.00
                Review and approve Status Report.                                               560.00/hr

  7/31/2019 MS     Asset Dispos                                                                   0.40           74.00
                   Review last quarterly fee paid by the Debtor; review pacer docket; review    185.00/hr
                   additional correspondence; Draft and preparation of email
                   correspondence to T. Casey regarding last quarterly payment made was
                   for 4th quarter 2018; we have not received notice of further payments
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Thomas H. Casey                                                                                            Page       2


                                                                                              Hrs/Rate       Amount

                   made or due and if no disbursements were made, then only the minimum
                   about is due.

  7/31/2019 MS     Asset Dispos                                                                  0.30             55.50
                   Review Chapter 11 Trustee Handbook and related documents (.2); draft        185.00/hr
                   and preparation of email correspondence to L. Cantor regarding
                   providing confirmation that the Debtor has paid the 1st and 2nd 2019
                   quarterly payments to the Office of the U.S. Trustee (.1).

   8/7/2019 THC Asset Dispos                                                                     0.40         224.00
                Review most recent order sustaining objections to claims and last status       560.00/hr
                report.

            THC Asset Dispos                                                                     0.60         336.00
                Review Litigation Trust Agreement, chart of disallowed and reduced             560.00/hr
                claims and main case docket, and prepare email to my counsel Jeff
                Garfinkle regarding potential litigation and closing of the case.

            MS     Asset Dispos                                                                  0.20             37.00
                   Discussion with T. Casey regarding payment of the last 2 quarterly fees,    185.00/hr
                   review claims allowed and disallowed and employment of Don Fife, Hahn
                   Fife & Company, LLP.

   8/9/2019 THC Asset Dispos                                                                     0.10             56.00
                Review email from Debtor counsel regarding quarterly fee paid and              560.00/hr
                telephone call with paralegal Marissa Silva regarding same.

            MS     Asset Dispos                                                                  0.10             18.50
                   Review email correspondence from Linda Cantor regarding 1st quarterly       185.00/hr
                   fee paid; review documents attached; prepare responsive email that she
                   attached 4th quarter payment from 2018.

            MS     Asset Dispos                                                                  0.10             18.50
                   Review second email correspondence from Linda Cantor regarding 1st          185.00/hr
                   quarterly fee paid for 2019 and confirm correct check provided; discuss
                   same with T. Casey.

  8/16/2019 THC Asset Dispos                                                                     0.10             56.00
                Review email from Attorney Jeff Garfinkle regarding potentail D&O cause        560.00/hr
                of action and prepare responsive email regarding same.

            THC Asset Dispos                                                                     0.10             56.00
                Review email from Jeff Garfinkle and prepare email response regarding          560.00/hr
                potential remittance of certain collections to the Trust.

  8/27/2019 THC Asset Dispos                                                                     0.10             56.00
                Prepare email to Jeff Garfinkle regarding remaining tasks to close case.       560.00/hr
     Case 8:16-bk-10424-SC           Doc 733-1 Filed 11/08/19 Entered 11/08/19 16:16:52                          Desc
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Thomas H. Casey                                                                                                    Page       3


                                                                                                      Hrs/Rate       Amount

   9/3/2019 MS     Asset Dispos                                                                          0.40             74.00
                   Review case regarding deposits made by the Debtor and prepare email                 185.00/hr
                   instructions to K. Driggers to obtain all MOR's in the case and save.

   9/4/2019 THC Asset Dispos                                                                             0.30         168.00
                Review filed claims register and remaining tasks to close case.                        560.00/hr

            THC Asset Dispos                                                                             0.10             56.00
                Telephone call with Attorney Jeff Garfinkle regarding remaining tasks to               560.00/hr
                close case.

            MS     Asset Dispos                                                                          0.10             18.50
                   Discussion with T. Casey regarding closing case.                                    185.00/hr

 10/15/2019 MS     Asset Dispos                                                                          0.10             18.50
                   Draft and preparation of email correspondence to J. Garfinkle regarding             185.00/hr
                   status of collecting on potential remaining receivables.

 10/21/2019 MS     Asset Dispos                                                                          0.10             18.50
                   Discussion with T. Casey regarding email from J. Garfinkle regarding                185.00/hr
                   proceeding with case closing as there appear to be no
                   receivables/preference actions available.

 10/28/2019 THC Asset Dispos                                                                             0.50         280.00
                Review Debtor motion for entry of final decree and Liquidating Trust                   560.00/hr
                focusing on terms regarding distribution.

            THC Asset Dispos                                                                             0.20         112.00
                Prepare email to Jeff Garfinkle regarding prepare motion to distribute                 560.00/hr
                funds and discharge Liquidating Trustee.


            SUBTOTAL:                                                                             [       6.30      2,478.00]

            Claim Objection

   4/4/2019 MS     Claim Objection                                                                       0.20             37.00
                   Review five tentative rulings for today's hearing on claim objections; draft        185.00/hr
                   and preparation of email correspondence to T. Casey regarding same
                   and attach tentatives for his review.

            THC Claim Objection                                                                          0.20         112.00
                Review lengthy email from my counsel Mirco at Buchalter regarding                      560.00/hr
                results of hearings on claim objections and prepare email response
                regarding same.

  4/17/2019 THC Claim Objection                                                                          0.20         112.00
                Review email from Alan Johnson regarding pending hearings and                          560.00/hr
                pending claim objections and prepare email response regarding same.
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Thomas H. Casey                                                                                                 Page       4


                                                                                                   Hrs/Rate       Amount

   6/5/2019 THC Claim Objection                                                                       0.60         336.00
                Review email from Attorney Mirco regarding my draft Declaration, review             560.00/hr
                my attached Declaration, review two attached tax return and transcript of
                Hernandez testimony, and review and sign my Declaration in support of
                my objection to Hernandez claim.


            SUBTOTAL:                                                                          [       1.20        597.00]

            Fee Application

  4/29/2019 MS     Fee Application                                                                    0.90         166.50
                   Commence drafting second Notice of Request for Compensation of the               185.00/hr
                   Litigation Trustee and Counsel for Litigation Trustee.

  4/30/2019 MS     Fee Application                                                                    0.60         111.00
                   Continue drafting second request for payment of fees.                            185.00/hr

            THC Fee Application                                                                       0.20         112.00
                Review and revise Notice of Fees for Liquidating Trustee and his                    560.00/hr
                counsel Buchalter.

   5/1/2019 MS     Fee Application                                                                    0.20             37.00
                   Revisions to Notice of Request for Compensation for the Litigation               185.00/hr
                   Trustee and Counsel for the Litigation Trustee, Buchalter for the time
                   period of June 1, 2018 through March 31, 2019.

            MS     Fee Application                                                                    0.30             55.50
                   Identify and prepare exhibits in support of Notice of Request for                185.00/hr
                   Compensation for the Litigation Trustee and Counsel for the Litigation
                   Trustee, Buchalter for the time period of June 1, 2018 through March 31,
                   2019.

            MS     Fee Application                                                                    0.10             18.50
                   Draft and preparation of email correspondence to J. Garfinkle and                185.00/hr
                   attached Notice of Request Compensation (2nd request) with exhibits
                   and request to provide any revisions and if none, we will file and serve.

  5/13/2019 MS     Fee Application                                                                    0.10             18.50
                   Draft and preparation of email correspondence to J. Garfinkle regarding          185.00/hr
                   filed fee notice and provide him with conformed copy.

  5/20/2019 MS     Fee Application                                                                    0.20             37.00
                   Research pacer docket for any file Oppositions to the Notice of Request          185.00/hr
                   for Payment of Fees; prepare email correspondence to T. Casey
                   regarding instructions on writing checks to professionals.


            SUBTOTAL:                                                                          [       2.60        556.00]
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Thomas H. Casey                                                                                   Page       5


                                                                                      Hours         Amount
            For professional services rendered                                        10.10       $3,631.00

            Additional Charges :

            $Copies

  5/31/2019 Copies for the month of May 2019.                                                        307.80


            SUBTOTAL:                                                                         [      307.80]

            $Fed. Express

  5/20/2019 Federal Express shipment to Jeffrey Garfinkle at Buchalter.                                  30.18


            SUBTOTAL:                                                                         [          30.18]

            $Pacer

  6/30/2019 Pacer research charges for April 1, 2019 through June 30, 2019.                              20.00

  9/30/2019 Pacer research charges for July 2019 through September 2019.                                 67.60


            SUBTOTAL:                                                                         [          87.60]

            $Postage

  5/31/2019 Postage for the month of May 2019.                                                           70.55

  6/30/2019 Postage for the month of June 2019.                                                           0.50


            SUBTOTAL:                                                                         [          71.05]

            Total additional charges                                                                $496.63


            Total amount of this bill                                                             $4,127.63


            Balance due                                                                           $4,127.63
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Law Office of Thomas H. Casey, Inc.
22342 Avenida Empresa, Suite 245
Rancho Santa Margarita, CA 92688
(949) 766- 8787


Invoice submitted to:
Thomas H. Casey
22342 Avenida Empresa
Suite 245
Rancho Santa Margarita, CA 92688



November 7, 2019

In Reference To: Case No. 8:16-bk-10424-SC
                 California Hispanic Commission on Drug and Alcohol Abuse
Invoice #11376


            Professional Services

                                                                                                      Hrs/Rate      Amount

            Asset Dispos

  4/23/2019 THC Asset Dispos                                                                             0.50       280.00
                Review email from Jeff Garfinkle regarding Buchalter's fees incurred                   560.00/hr
                preparing claim objections and review attached invoices.

            THC Asset Dispos                                                                             0.30       168.00
                Review previously filed Notice of Request For Compensation and                         560.00/hr
                prepare email to Jeff Garfinkle regarding follow same procedure as
                before and attach previously filed Notice of Request For Fees.


            SUBTOTAL:                                                                             [       0.80      448.00]

            Claim Objection

   4/4/2019 MS     Claim Objection                                                                       0.20           37.00
                   Review five tentative rulings for today's hearing on claim objections; draft        185.00/hr
                   and preparation of email correspondence to T. Casey regarding same
                   and attach tentatives for his review.

            THC Claim Objection                                                                          0.20       112.00
                Review lengthy email from my counsel Mirco at Buchalter regarding                      560.00/hr
                results of hearings on claim objections and prepare email response
                regarding same.

  4/17/2019 THC Claim Objection                                                                          0.20       112.00
                Review email from Alan Johnson regarding pending hearings and                          560.00/hr
                pending claim objections and prepare email response regarding same.
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Thomas H. Casey                                                                                         Page    2


                                                                                           Hrs/Rate       Amount


           SUBTOTAL:                                                                   [       0.60        261.00]

           Fee Application

  4/29/2019 MS    Fee Application                                                             0.90         166.50
                  Commence drafting second Notice of Request for Compensation of the        185.00/hr
                  Litigation Trustee and Counsel for Litigation Trustee.

  4/30/2019 MS    Fee Application                                                             0.60         111.00
                  Continue drafting second request for payment of fees.                     185.00/hr

           THC Fee Application                                                                0.20         112.00
               Review and revise Notice of Fees for Liquidating Trustee and his             560.00/hr
               counsel Buchalter.


           SUBTOTAL:                                                                   [       1.70        389.50]

           For professional services rendered                                                  3.10     $1,098.50


           Balance due                                                                                  $1,098.50
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Law Office of Thomas H. Casey, Inc.
22342 Avenida Empresa, Suite 245
Rancho Santa Margarita, CA 92688
(949) 766- 8787


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Suite 245
Rancho Santa Margarita, CA 92688



November 7, 2019

In Reference To: Case No. 8:16-bk-10424-SC
                 California Hispanic Commission on Drug and Alcohol Abuse
Invoice #11376


            Professional Services

                                                                                                  Hrs/Rate      Amount

            Asset Dispos

  5/15/2019 MS     Asset Dispos                                                                      0.10           18.50
                   Draft and preparation of responsive email to Alan Johnson regarding             185.00/hr
                   tentative rulings for today's hearings and send to him for review.

  5/20/2019 THC Asset Dispos                                                                         0.10           56.00
                Review Notice of Compensation and no opposition and revise letter to               560.00/hr
                Buchalter regarding payment of fees.

            MS     Asset Dispos                                                                      0.90       166.50
                   Draft and preparation of general ledger for the CHCADA bank account.            185.00/hr


            SUBTOTAL:                                                                         [       1.10      241.00]

            Fee Application

   5/1/2019 MS     Fee Application                                                                   0.20           37.00
                   Revisions to Notice of Request for Compensation for the Litigation              185.00/hr
                   Trustee and Counsel for the Litigation Trustee, Buchalter for the time
                   period of June 1, 2018 through March 31, 2019.

            MS     Fee Application                                                                   0.30           55.50
                   Identify and prepare exhibits in support of Notice of Request for               185.00/hr
                   Compensation for the Litigation Trustee and Counsel for the Litigation
                   Trustee, Buchalter for the time period of June 1, 2018 through March 31,
                   2019.
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Thomas H. Casey                                                                                                     Page       2


                                                                                                   Hrs/Rate           Amount

   5/1/2019 MS     Fee Application                                                                    0.10                 18.50
                   Draft and preparation of email correspondence to J. Garfinkle and                185.00/hr
                   attached Notice of Request Compensation (2nd request) with exhibits
                   and request to provide any revisions and if none, we will file and serve.

  5/13/2019 MS     Fee Application                                                                    0.10                 18.50
                   Draft and preparation of email correspondence to J. Garfinkle regarding          185.00/hr
                   filed fee notice and provide him with conformed copy.

  5/20/2019 MS     Fee Application                                                                    0.20                 37.00
                   Research pacer docket for any file Oppositions to the Notice of Request          185.00/hr
                   for Payment of Fees; prepare email correspondence to T. Casey
                   regarding instructions on writing checks to professionals.


            SUBTOTAL:                                                                          [       0.90            166.50]

            For professional services rendered                                                         2.00           $407.50

            Additional Charges :

            $Copies

  5/31/2019 Copies for the month of May 2019.                                                                          307.80


            SUBTOTAL:                                                                                           [      307.80]

            $Fed. Express

  5/20/2019 Federal Express shipment to Jeffrey Garfinkle at Buchalter.                                                    30.18


            SUBTOTAL:                                                                                           [          30.18]

            $Postage

  5/31/2019 Postage for the month of May 2019.                                                                             70.55


            SUBTOTAL:                                                                                           [          70.55]

            Total additional charges                                                                                  $408.53


            Total amount of this bill                                                                                 $816.03
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Thomas H. Casey                                                                   Page    3


                                                                                     Amount


           Balance due                                                              $816.03
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Law Office of Thomas H. Casey, Inc.
22342 Avenida Empresa, Suite 245
Rancho Santa Margarita, CA 92688
(949) 766- 8787


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22342 Avenida Empresa
Suite 245
Rancho Santa Margarita, CA 92688



November 7, 2019

In Reference To: Case No. 8:16-bk-10424-SC
                 California Hispanic Commission on Drug and Alcohol Abuse
Invoice #11376


            Professional Services

                                                                                                Hrs/Rate         Amount

            Claim Objection

   6/5/2019 THC Claim Objection                                                                    0.60           336.00
                Review email from Attorney Mirco regarding my draft Declaration, review          560.00/hr
                my attached Declaration, review two attached tax return and transcript of
                Hernandez testimony, and review and sign my Declaration in support of
                my objection to Hernandez claim.


            SUBTOTAL:                                                                       [       0.60          336.00]

            For professional services rendered                                                      0.60         $336.00

            Additional Charges :

            $Pacer

  6/30/2019 Pacer research charges for April 1, 2019 through June 30, 2019.                                        20.00


            SUBTOTAL:                                                                                        [     20.00]

            $Postage

  6/30/2019 Postage for the month of June 2019.                                                                     0.50


            SUBTOTAL:                                                                                        [      0.50]
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Thomas H. Casey                                                                             Page    2


                                                                                               Amount
           Total additional charges                                                            $20.50


           Total amount of this bill                                                          $356.50


           Balance due                                                                        $356.50
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Law Office of Thomas H. Casey, Inc.
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Rancho Santa Margarita, CA 92688
(949) 766- 8787


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Rancho Santa Margarita, CA 92688



November 7, 2019

In Reference To: Case No. 8:16-bk-10424-SC
                 California Hispanic Commission on Drug and Alcohol Abuse
Invoice #11376


            Professional Services

                                                                                                   Hrs/Rate      Amount

            Asset Dispos

  7/11/2019 THC Asset Dispos                                                                          0.10           56.00
                Review and approve Status Report.                                                   560.00/hr

  7/31/2019 MS     Asset Dispos                                                                       0.40           74.00
                   Review last quarterly fee paid by the Debtor; review pacer docket; review        185.00/hr
                   additional correspondence; Draft and preparation of email
                   correspondence to T. Casey regarding last quarterly payment made was
                   for 4th quarter 2018; we have not received notice of further payments
                   made or due and if no disbursements were made, then only the minimum
                   about is due.

            MS     Asset Dispos                                                                       0.30           55.50
                   Review Chapter 11 Trustee Handbook and related documents (.2); draft             185.00/hr
                   and preparation of email correspondence to L. Cantor regarding
                   providing confirmation that the Debtor has paid the 1st and 2nd 2019
                   quarterly payments to the Office of the U.S. Trustee (.1).


            SUBTOTAL:                                                                          [       0.80      185.50]

            For professional services rendered                                                         0.80     $185.50


            Balance due                                                                                         $185.50
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Law Office of Thomas H. Casey, Inc.
22342 Avenida Empresa, Suite 245
Rancho Santa Margarita, CA 92688
(949) 766- 8787


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22342 Avenida Empresa
Suite 245
Rancho Santa Margarita, CA 92688



November 7, 2019

In Reference To: Case No. 8:16-bk-10424-SC
                 California Hispanic Commission on Drug and Alcohol Abuse
Invoice #11376


            Professional Services

                                                                                              Hrs/Rate      Amount

            Asset Dispos

   8/7/2019 THC Asset Dispos                                                                     0.40       224.00
                Review most recent order sustaining objections to claims and last status       560.00/hr
                report.

            THC Asset Dispos                                                                     0.60       336.00
                Review Litigation Trust Agreement, chart of disallowed and reduced             560.00/hr
                claims and main case docket, and prepare email to my counsel Jeff
                Garfinkle regarding potential litigation and closing of the case.

            MS     Asset Dispos                                                                  0.20           37.00
                   Discussion with T. Casey regarding payment of the last 2 quarterly fees,    185.00/hr
                   review claims allowed and disallowed and employment of Don Fife, Hahn
                   Fife & Company, LLP.

   8/9/2019 THC Asset Dispos                                                                     0.10           56.00
                Review email from Debtor counsel regarding quarterly fee paid and              560.00/hr
                telephone call with paralegal Marissa Silva regarding same.

            MS     Asset Dispos                                                                  0.10           18.50
                   Review email correspondence from Linda Cantor regarding 1st quarterly       185.00/hr
                   fee paid; review documents attached; prepare responsive email that she
                   attached 4th quarter payment from 2018.

            MS     Asset Dispos                                                                  0.10           18.50
                   Review second email correspondence from Linda Cantor regarding 1st          185.00/hr
                   quarterly fee paid for 2019 and confirm correct check provided; discuss
                   same with T. Casey.
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Thomas H. Casey                                                                                             Page       2


                                                                                               Hrs/Rate       Amount

  8/16/2019 THC Asset Dispos                                                                      0.10             56.00
                Review email from Attorney Jeff Garfinkle regarding potentail D&O cause         560.00/hr
                of action and prepare responsive email regarding same.

            THC Asset Dispos                                                                      0.10             56.00
                Review email from Jeff Garfinkle and prepare email response regarding           560.00/hr
                potential remittance of certain collections to the Trust.

  8/27/2019 THC Asset Dispos                                                                      0.10             56.00
                Prepare email to Jeff Garfinkle regarding remaining tasks to close case.        560.00/hr


            SUBTOTAL:                                                                      [       1.80        858.00]

            For professional services rendered                                                     1.80       $858.00


            Balance due                                                                                       $858.00
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Law Office of Thomas H. Casey, Inc.
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Rancho Santa Margarita, CA 92688
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Rancho Santa Margarita, CA 92688



November 7, 2019

In Reference To: Case No. 8:16-bk-10424-SC
                 California Hispanic Commission on Drug and Alcohol Abuse
Invoice #11376


            Professional Services

                                                                                               Hrs/Rate         Amount

            Asset Dispos

   9/3/2019 MS     Asset Dispos                                                                   0.40            74.00
                   Review case regarding deposits made by the Debtor and prepare email          185.00/hr
                   instructions to K. Driggers to obtain all MOR's in the case and save.

   9/4/2019 THC Asset Dispos                                                                      0.30           168.00
                Review filed claims register and remaining tasks to close case.                 560.00/hr

            THC Asset Dispos                                                                      0.10            56.00
                Telephone call with Attorney Jeff Garfinkle regarding remaining tasks to        560.00/hr
                close case.

            MS     Asset Dispos                                                                   0.10            18.50
                   Discussion with T. Casey regarding closing case.                             185.00/hr


            SUBTOTAL:                                                                      [       0.90          316.50]

            For professional services rendered                                                     0.90         $316.50

            Additional Charges :

            $Pacer

  9/30/2019 Pacer research charges for July 2019 through September 2019.                                          67.60


            SUBTOTAL:                                                                                       [     67.60]
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Thomas H. Casey                                                                             Page    2


                                                                                               Amount
           Total additional charges                                                            $67.60


           Total amount of this bill                                                          $384.10


           Balance due                                                                        $384.10
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Law Office of Thomas H. Casey, Inc.
22342 Avenida Empresa, Suite 245
Rancho Santa Margarita, CA 92688
(949) 766- 8787


Invoice submitted to:
Thomas H. Casey
22342 Avenida Empresa
Suite 245
Rancho Santa Margarita, CA 92688



November 7, 2019

In Reference To: Case No. 8:16-bk-10424-SC
                 California Hispanic Commission on Drug and Alcohol Abuse
Invoice #11376


            Professional Services

                                                                                                 Hrs/Rate      Amount

            Asset Dispos

 10/15/2019 MS     Asset Dispos                                                                     0.10           18.50
                   Draft and preparation of email correspondence to J. Garfinkle regarding        185.00/hr
                   status of collecting on potential remaining receivables.

 10/21/2019 MS     Asset Dispos                                                                     0.10           18.50
                   Discussion with T. Casey regarding email from J. Garfinkle regarding           185.00/hr
                   proceeding with case closing as there appear to be no
                   receivables/preference actions available.

 10/28/2019 THC Asset Dispos                                                                        0.50       280.00
                Review Debtor motion for entry of final decree and Liquidating Trust              560.00/hr
                focusing on terms regarding distribution.

            THC Asset Dispos                                                                        0.20       112.00
                Prepare email to Jeff Garfinkle regarding prepare motion to distribute            560.00/hr
                funds and discharge Liquidating Trustee.


            SUBTOTAL:                                                                        [       0.90      429.00]

            For professional services rendered                                                       0.90     $429.00


            Balance due                                                                                       $429.00
Case 8:16-bk-10424-SC   Doc 733-1 Filed 11/08/19 Entered 11/08/19 16:16:52   Desc
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                    EXHIBIT 4




                    EXHIBIT 4
 BN 38269653v1
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                                                                                              October 31, 2019
THOMAS CASEY                                                                                  Invoice No. 990459
22342 AVENIDA EMPRESA #260
RANCHO SANTA MARGARITA, CA 92688




Re: CALIFORNIA HISPANIC COMMISSION OF ALCOHOL AND DRUG
Our File No:        C9106-2

Previous Balance                                                                                             15,309.86
      Payments received through 11/08/19                                                                           .00
Previous Balance Remaining                                                                                   15,309.86
     Current Fees Through 10/31/19                                                                             780.00
Invoice Total                                                                                       $          780.00
Balance Due                                                                                         $        16,089.86




                                                     Wire Instructions
                   ZB, N.A, dba California Bank & Trust - 550 South Hope Street - Suite 300 - Los Angeles,
                                                          CA 90071
                                         ABA#: 121002042 - Swift Code: ZFNBUS55
                                    Account Name: Buchalter - Account No: 3240017271
                                               Reference: Invoice number(s)
                                               To pay by Visa or MasterCard
                                      go to the payment portal on www.Buchalter.com



       Past Due Balances:                                                                   Total Due
                                                                                        including this
                   30 days                 60 days                 90 days                     invoice
                       .00                    6.40               15,303.46                  16,089.86
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 File   C9106-2            THOMAS CASEY                                                                    10/31/19
 Number                    CALIFORNIA HISPANIC COMMISSION OF ALCOHOL AND DRUG                               990459
 JKG                                                                                                  Page        1
 Date   Tkpr              Description of Services Rendered                                  Hours          Amount
10/03/19 JKG   CONFER WITH LINDA CANTER ABOUT REMAINING TASKS TO CLOSE
               BANKRUPTCY CASE AND NEEDED INFORMATION. DRAFT E-MAIL TO T. CASEY
               REGARDING SAME. REVIEW DOCKET AND PLAN TO CONFIRM ALL REMAINING
               TASKS/DUTIES HAVE BEEN COMPLETED.                                             1.20            780.00


                                                                                      Effective
               Recap of Services                                             Hours        Rate                Fees
               JEFFREY K. GARFINKLE                                            1.20     650.00               780.00
                                                               Total           1.20                          780.00



                                         Total Fees                                                          780.00
                                     Matter Total                                                 $          780.00
